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 7

 8
                                     IN THE UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                              CASE NO. 2:11-CR-210 JAM
12                                    Plaintiff,            STIPULATION REGARDING CONTINUING
                                                            SENTENCING OF VANIK ATOYAN; FINDINGS
13                              v.                          AND ORDER
14   VERA KUZMENKO, ET AL.,                                 DATE: June 28, 2016
                                                            TIME: 9:15 a.m.
15                                    Defendants.           COURT: Hon. John A. Mendez
16

17                                                  STIPULATION
               1.      By previous order, this matter was set for sentencing on June 28, 2016.
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               2.      By this stipulation, defendants now move to continue the sentencing until August 2, 2016
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20 at 9:15 a.m.

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          STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS   1
          AND ORDER
             Case 2:11-cr-00210-DAD Document 863 Filed 06/27/16 Page 2 of 2


 1

 2          IT IS SO STIPULATED.
 3
     Dated: June 28 , 2016                                    BENJAMIN B. WAGNER
 4                                                            United States Attorney
 5
                                                              /s/ LEE S. BICKLEY
 6
                                                              LEE S. BICKLEY
 7                                                            Assistant United States Attorney

 8

 9

10 Dated: June 28, 2016                                       /s/ GARY A. TALESFORE
                                                              GARY A. TALESFORE
11                                                            Counsel for Defendant
                                                              VANIK ATOYAN
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                                            FINDINGS AND ORDER
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            IT IS SO FOUND AND ORDERED this 27th day of June, 2016
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24                                                      /s/ John A. Mendez
                                                        THE HONORABLE JOHN A. MENDEZ
25                                                      UNITED STATES DISTRICT COURT JUDGE
26

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      STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS     2
      AND ORDER
